785 F.2d 308
    Unpublished DispositionNOTICE: Sixth Circuit Rule 24(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Sixth Circuit.VICTOR G. HARRIS, Plaintiff-Appellant,v.INTERNATIONAL UNION OF ELECTRICAL EMPLOYEES, Defendant-Appellee.
    83-3783
    United States Court of Appeals, Sixth Circuit.
    1/9/86
    
      ORDER
      BEFORE:  MERRITT, JONES and WELLFORD, Circuit Judges.
    
    
      1
      This matter is before the Court upon consideration of appellant's motion for appointment of counsel.
    
    
      2
      It appears from the district court record that appellant has appealed from an order denying a motion for appointment of counsel in this civil rights action.  Such an order is not a final decision pursuant to 28 U.S.C. Sec. 1291 from which an appeal can be taken.  Henry v. Detroit Manpower, 763 F.2d 757 (6th Cir.)  (en banc), cert. denied, ---- U.S. ---- (December 16, 1985).  Therefore, this Court is without jurisdiction to entertain the appeal.
    
    
      3
      It is ORDERED that the motion for appointment of counsel be and hereby is denied.  It is further ORDERED that the appeal be and hereby is dismissed.  Rule 9(d)(1), Rules of the Sixth Circuit.
    
    